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 9                             UNITED STATES DISTRICT COURT
10                                      DISTRICT OF NEVADA
11 LAS VEGAS SUN, INC., a Nevada                  Case No.: 2:19-CV-01667-RFB-BNW
   corporation,
12

13                        Plaintiff,
                                                  DEFENDANTS SHELDON ADELSON
                                                  AND PATRICK DUMONT’S MOTION TO
14         v.
                                                  DISMISS COMPLAINT (FRCP 12(B)(6))
15 SHELDON ADELSON, an individual and             AND JOINDER IN THE LAS VEGAS
                                                  REVIEW-JOURNAL, INC.’S AND
   as the alter ego of News+Media Capital
16                                                NEWS+MEDIA CAPITAL GROUP LLC’S
   Group LLC and as the alter ego of Las
                                                  MOTION TO DISMISS
17 Vegas Review Journal, Inc.; PATRICK
   DUMONT, an individual; NEWS+MEDIA
                                                  [HEARING REQUESTED]
18 CAPITAL GROUP LLC, a Delaware
   limited liability company; LAS VEGAS
19 REVIEW-JOURNAL, INC., a Delaware
   corporation; and DOES, I-X, inclusive,
20

21                        Defendants.

22

23         Defendants Sheldon Adelson and Patrick Dumont hereby move this Court for an order

24 dismissing the Verified Complaint (“Complaint”) filed by Plaintiff Las Vegas Sun, Inc. (“the Sun”)

25 pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and applicable state and federal

26 law. Messrs. Adelson and Dumont further join in the concurrently-filed motion to dismiss filed

27 by Defendants Las Vegas Review-Journal, Inc. and News+Media Capital Group, LLC.

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 1         This Motion is based upon the following Memorandum of Points and Authorities, the
 2 papers and pleadings on file in this action, and any argument the Court may allow at the hearing

 3 on the Motion.

 4         DATED October 30, 2019.
 5                                      KEMP, JONES & COULTHARD, LLP
 6
                                        By: /s/ J. Randall Jones
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.       INTRODUCTION
 3          The Sun has filled its Complaint with ad hominem attacks and gratuitous references to
 4 defendants’ conservative views in the apparent hope this Court will rule on politics, not the merits.

 5 The Complaint is also epic in its hypocrisy. The Sun accuses Defendants of chilling speech, but

 6 seeks to silence Defendants with a court order divesting them of any involvement in the Review-

 7 Journal newspaper. The Sun and its publisher Brian Greenspun thereby seek to dictate who has

 8 control over the Review-Journal newspaper. So much for free speech.

 9          Defendants Sheldon Adelson and Patrick Dumont join in the Las Vegas Review-Journal,
10 Inc.’s and News+Media Capital Group LLC’s (collectively referred to as “Review-Journal”)

11 concurrently-filed motion to dismiss, but bring this separate motion to dismiss to raise additional

12 reasons why they have no place in this litigation as individual defendants.

13          In its Complaint, the Sun nowhere alleges Messrs. Adelson or Dumont did anything in their
14 individual capacities to violate federal antitrust law. The Sun does not even allege that these

15 individuals ever participated in the so-called “market” identified by the Sun – i.e., the sale of local

16 daily newspapers in Clark County. As a matter of law, they cannot be sued for monopolizing or

17 attempting to monopolize a market in which they do not participate. Moreover, the Sun fails to

18 articulate any plausible claim that Messrs. Adelson and Dumont conspired with anyone to

19 monopolize any market. On top of that, the Copperweld Rule bars conspiracy claims—like those

20 at issue here—that are against a company’s owners, executives, parent companies, and subsidiaries

21 because, under the law of conspiracy, they are not “independent centers of decisionmaking” and

22 cannot conspire with each other.

23          The Sun’s claim that Mr. Adelson is the “alter ego” of Defendant News+Media is nothing
24 but a public relations stunt. The Complaint does not plead the necessary facts for treating a

25 corporation and its owner as legally “inseparable,” or any facts suggesting that the corporate form

26 of News+Media is a mere “fiction,” or that respecting its corporate status would perpetuate an

27 injustice. The alter-ego claim is frivolous and should be dismissed.

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 1         Finally, the Sun’s request for an order divesting Defendants from having any ownership or
 2 control over the Review-Journal newspaper is an assault on free speech and objectively meritless.

 3 The extraordinary remedy of divestiture is only available in cases involving corporate acquisitions

 4 that are being challenged as illegal. But the Complaint does not challenge the 4-year old

 5 acquisition of the Review-Journal at all.

 6         For these reasons, and those set forth in the Review-Journal’s motion to dismiss, every
 7 claim against Messrs. Adelson and Dumont should be dismissed with prejudice.

 8 II.     RELEVANT BACKGROUND FACTS.
 9         In the interest of efficiency, Messrs. Adelson and Dumont refer the Court to the general
10 background facts set forth in the Review-Journal’s concurrently-filed motion to dismiss. For

11 purposes of this Motion, the additional relevant facts are straightforward:

12         The Complaint alleges that Brian Greenspun controls Las Vegas Sun, Inc. which publishes
13 the Sun newspaper. Cplt. ¶ 2. Mr. Greenspun is both the editor and publisher of the Sun

14 newspaper, and he unabashedly brags about his influence over the content in the Sun newspaper.

15 Cplt. ¶¶ 2, 4.

16         The Sun’s Complaint names Mr. Adelson as a defendant, and the Sun repeatedly attacks
17 and disparages him. See, e.g., Cplt. pp. 1-2. The Sun accuses Mr. Adelson of all sorts of

18 unsubstantiated wrongdoing—completely unrelated to the claims alleged—and repeatedly alludes

19 to his personal wealth, conservative views, and political donation history as if that will weigh

20 against him in this proceeding. Cplt. pp. 1-2, ¶¶ 6, 10.

21         When the rhetoric and vitriol are peeled away, there is just a handful of relevant factual
22 allegations concerning Mr. Adelson. The Complaint alleges Las Vegas Review-Journal, Inc. is a

23 “wholly-owned subsidiary of News+Media Group LLC,” Cplt. ¶ 5, and that Mr. Adelson, his

24 family, and their trusts have some unspecified beneficial ownership interest in News+Media

25 Capital Group LLC, Cplt. ¶ 9. Apparently in an attempt to make Mr. Adelson look more involved

26 in the affairs of the Review-Journal newspaper, the Sun confusingly alleges that Mr. Adelson is

27 also an “owner” of the Review-Journal, even though the Sun concedes that the Review-Journal is

28 wholly-owned by a separate legal entity, News+Media Capital Group LLC. Cplt. ¶¶ 5-6. The


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 1 Complaint further speculates that Mr. Adelson “exercises significant influence over the [Review-

 2 Journal’s] business policies and affairs, including its editorial content.” Cplt. ¶ 9. After vilifying

 3 Mr. Adelson’s political views, the Sun—under the guise of championing “free speech”—asks the

 4 Court for a draconian order that would “divest Adelson of any control over the Review-Journal.”

 5 Cplt. pp. 1, 3.

 6         Mr. Dumont also is named as a defendant but barely mentioned in the Complaint. The Sun
 7 identifies Mr. Dumont as “an officer and owner of News+Media” and “the son-in-law of Sheldon

 8 Adelson.” Cplt. ¶ 11. The Sun alleges that Mr. Dumont “orchestrated” the purchase of the

 9 Review-Journal “under the direction of Adelson,” but the Sun asserts no claim challenging the

10 propriety of or based on the 2015 purchase of the Review-Journal newspaper. Cplt. ¶ 11.

11         The Complaint further alleges that in 2015, when News+Media was negotiating for the
12 purchase of the Review-Journal newspaper, Messrs. Adelson and Dumont supposedly had

13 discussions with the publisher of the Review-Journal newspaper about whether the 2005 joint

14 operating arrangement between the Sun and Review-Journal newspapers (“2005 JOA”) could be

15 terminated, and what would happen to the Sun newspaper if the 2005 JOA became unprofitable.

16 Cplt. ¶ 55. Finally, the Sun alleges that when the 2005 JOA did, in fact, start losing money,

17 representatives of the Review-Journal newspaper conveyed a message from Mr. Dumont to the

18 Sun’s executives that “the JOA will never be worth more than it is now and Brian [Greenspun]

19 should call Patrick [Dumont] to make a deal.” Cplt. ¶ 65. The Complaint contains no allegations

20 that Messrs. Adelson or Dumont, or any other defendant, are offering to buy defendant Las Vegas

21 Sun, Inc. or its newspaper, or that the Sun is offering to sell its newspaper.

22         Based on these threadbare allegations, the Sun is now suing Messrs. Adelson and Dumont,
23 in their individual capacities, for unlawful monopolization (Count 1), attempted monopolization

24 (Count 2), conspiracy to monopolize (Count 3), violating Section 7 of the Clayton Act governing

25 corporate mergers and acquisitions (Count 4), and unfair trade practices (Count 5). None of the

26 counts states a valid claim against Mr. Adelson or Mr. Dumont, and each should be dismissed with

27 prejudice.

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 1 III.    THE SUN FAILS TO STATE ANY ANTITRUST CLAIM AGAINST THE
           INDIVIDUAL DEFENDANTS.
 2

 3         The Sun—either sloppily, or brazenly—brings each of its antitrust claims against all
 4 “Defendants”, including Messrs. Adelson and Dumont, even though the Complaint in no way

 5 explains how they could be liable in their individual capacities under the Sherman Act or Clayton

 6 Act. Cplt. ¶¶ 119-152.

 7         The Sun’s first and second counts allege monopolization and attempted monopolization.
 8 The elements of a monopolization claim under Section 2 of the Sherman Act are that defendant

 9 “(1) possessed monopoly power in the relevant market, (2) willfully acquired or maintained that

10 power through exclusionary conduct, and (3) caused antitrust injury.” MetroNet Servs. Corp. v.

11 Qwest Corp., 383 F.3d 1124, 1130 (9th Cir. 2004). “To demonstrate attempted monopolization a

12 plaintiff must prove (1) that the defendant has engaged in predatory or anticompetitive conduct

13 with (2) a specific intent to monopolize and (3) a dangerous probability of achieving monopoly

14 power.” Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993).

15         The Complaint fails to allege any of these necessary elements against Messrs. Adelson and
16 Dumont.     The Complaint claims the “relevant product market” is the “sale of local daily
17 newspapers” in Clark County, Cplt. ¶¶ 37, 40, but never alleges—nor could it truthfully allege—

18 that either Mr. Adelson or Mr. Dumont compete in that market, or that either had any intent to

19 compete in that market as individuals (let alone, monopolize it). In fact, the Complaint is premised

20 on allegations that “[t]he Review-Journal and the Sun together account for 100% of the circulation

21 of local daily newspapers in Clark County,” Cplt. ¶ 41, and that barriers to entry in the narrowly-

22 defined relevant market are insurmountable, Cplt. ¶¶ 42-47. Therefore, based on the Sun’s own

23 pleadings (verified under oath), the only market participants are the Sun (which publishes the Sun

24 newspaper), Cplt. ¶ 1, and the Review-Journal (which publishes the Review-Journal newspaper),

25 Cplt. ¶ 5. Accordingly, neither Mr. Adelson nor Mr. Dumont—as individuals—could plausibly

26 be present or future participants, let alone monopolists or threatened monopolists, in the “relevant

27 market.” At most, the complaint alleges that Mr. Adelson is the “alter-ego” of the Review-Journal

28 and that Messrs. Adelson and Dumont “conspired” with the Review-Journal, but those separate


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 1 theories of liability fail for independent reasons discussed below. Because Messrs. Adelson and

 2 Dumont are not participants in the relevant market in their individual capacities, it necessarily

 3 follows that neither of them could have willfully acquired monopoly power, had a dangerous

 4 probability of acquiring monopoly power, or caused antitrust injury in any way. Spectrum, 506

 5 U.S. at 456; MetroNet, 383 F.3d at 1130. The monopolization and attempted monopolization

 6 claims (first and second claims) against Messrs. Adelson and Dumont are baseless and should be

 7 dismissed.

 8         The Complaint also alleges that Messrs. Adelson and Dumont violated Section 7 of the
 9 Clayton Act (Count 4). As explained in the Review-Journal’s concurrently-filed motion to

10 dismiss, this provision of the Clayton Act prohibits anti-competitive or monopolistic

11 “acquisition[s].” 15 U.S.C. § 18 (emphasis added). But there is not a single allegation in the

12 Complaint that either Mr. Adelson or Mr. Dumont acquired any company in their individual

13 capacities such that the acquisition substantially “lessen[ed] competition” or “creat[ed] a

14 monopoly” in the identified relevant market.1 Id. (emphasis added). Therefore, the fourth claim

15 also is without merit and should be dismissed.

16 IV.     THE COPPERWELD RULE BARS THE CONSPIRACY CLAIMS IN COUNT 3.
17         Under the Supreme Court’s Copperweld Rule, the alleged conspiracy between the Review-
18 Journal, its parent company (News+Media), an alleged owner of the parent company (Patrick

19 Dumont), and an alleged indirect owner of the parent company (Sheldon Adelson) is not legally

20 cognizable. Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752, 771 (1984). The

21 Supreme Court in Copperweld held that because a parent company and its wholly owned

22 subsidiary have “a complete unity of interest,” they are incapable of conspiring under Section 1 of

23 the Sherman Act. Id. The Copperweld rule applies to conspiracy to monopolize claims brought

24 under Section 2. See 3B Areeda & Hovenkamp, Antitrust Law ¶ 809 n.2 (3d ed. 2008) (citing

25 Vollrath Co. v. Sammi Corp., 9 F.3d 1455 (9th Cir. 1993)). Copperweld bars conspiracy claims

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     1
    In the introduction of the Complaint, the Sun alleges that Mr. Adelson “purchased” the Review-
28 Journal newspaper in 2015, but then explains that it was really defendant News+Media Capital
   Group, LLC which acquired the newspaper. Cplt. ¶ 7.

                                                    5
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 1 against “a company and its officers [and] employees . . . subsidiaries controlled by a common

 2 parent, firms owned by the same person, and a firm owned by a subset of the owners of another,”

 3 as well as defendants in “principal-agent relationships.” Freeman v. San Diego Ass’n of Realtors,

 4 322 F.3d 1133, 1147 (9th Cir. 2003) (citations omitted).

 5         Here, the Sun’s Complaint pleads itself directly into the Copperweld Rule. The Sun alleges
 6 that defendant News+Media owns defendant Review-Journal, Cplt. ¶¶ 5, 7; defendant Patrick

 7 Dumont is an officer and owner of defendant News+Media, Cplt. ¶ 11; and defendant Sheldon

 8 Adelson is a supposed “alter ego” and indirect owner of News+Media who purportedly “exercises

 9 significant influence over” the Review Journal, Cplt. ¶¶ 8, 9. There is no conspiracy because, as

10 alleged by the Sun, these defendants are not “independent centers of decisionmaking” joining

11 together. Am. Needle, Inc. v. NFL, 560 U.S. 183, 196 (2010) (conspiracy requires joining of

12 “independent centers of decisionmaking”) (quoting Copperweld, 467 U.S. at 769). Therefore, the

13 Sun’s third claim for conspiracy to monopolize fails as a matter of law.

14
     V.    THE COMPLAINT FAILS TO ALLEGE FACTS SUPPORTING                                          ANY
15         DEFENDANT’S INVOLVEMENT IN AN ANTITRUST CONSPIRACY.
16         A claim for conspiracy to monopolize in violation of Sherman Act Section 2 requires
17 “(1) the existence of a combination or conspiracy to monopolize; (2) an overt act in furtherance of

18 the conspiracy; (3) the specific intent to monopolize; and (4) causal antitrust injury.” Paladin

19 Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1158 (9th Cir. 2003). It is axiomatic that a

20 plaintiff cannot meet its burden of pleading the existence of a conspiracy merely by offering “labels

21 and conclusions” or a “formulaic recitation of the elements of a cause of action.” Bell Atl. Corp.

22 v. Twombly, 550 U.S. 544, 555 (2007) (“Twombly”). The complaint must plead enough factual

23 matter that reveals a “plausible” conspiracy; it is not enough to merely allege the existence of a

24 “conceivable” conspiracy. Id. at 570 (“Because the plaintiffs here have not nudged their claims

25 across the line from conceivable to plausible, their Complaint must be dismissed”). “Allegations

26 of facts that could just as easily suggest rational, legal business behavior by the defendants as they

27 could suggest an illegal conspiracy are insufficient to plead a violation of the antitrust laws.”

28 Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1049 (9th Cir. 2008) (citing Twombly, 550 U.S. at


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 1 553-57 & n.5).

 2         Here, the Complaint is devoid of a single factual allegation supporting any of these
 3 necessary elements. There is no reference to or description of any supposed conspiracy between

 4 or among any of the named defendants, and there is no alleged overt act in furtherance of the non-

 5 identified conspiracy. In fact, the only references to any conspiracy in the Complaint are the title

 6 of the cause of action, Cplt. ¶ 13, and the conclusory allegations that Defendants committed

 7 unspecified acts “[i]n furtherance of the conspiracy,” Cplt. ¶ 141; that “Defendant’ [sic]

 8 conspiracy” somehow harmed competition, Cplt. ¶ 142; and that Defendants are jointly and

 9 severally liable for all damages “caused by their conspiracy,” Cplt. ¶ 144 . These naked assertions

10 of a “conspiracy” fail to state a viable conspiracy claim. Twombly, 550 U.S. at 557. The Complaint

11 also describes one or two discussions where Messrs. Adelson and Dumont allegedly asked the

12 Review-Journal’s publisher whether the Review-Journal could terminate the 2005 JOA, and

13 alleges that Mr. Adelson “hypothesize[d]” about what would happen to the Sun if the 2005 JOA

14 became unprofitable. Cplt. ¶ 55. None of these facts supports “the existence of a combination or

15 conspiracy to monopolize” the market for the sale of local daily newspapers in Clark County. At

16 most they show that the Review-Journal was considering its contractual legal rights under the 2005

17 JOA, which plainly suggests “rational, legal behavior” and fails to plead a violation of the antitrust

18 laws. Kendall, 518 F.3d at 1049.

19         In addition to failing to allege even the basic contours of a conspiracy, the Complaint never
20 explains how each defendant supposedly participated in the mystery conspiracy. At most, the

21 Complaint lumps all of the Defendants together and makes blanket assertions of “Defendants’” so-

22 called “predatory” conduct such as replacing the publisher of the Review-Journal newspaper,

23 breaching the JOA 2005 JOA, and threatening to terminate the contract between the Sun and the

24 Review-Journal. Cplt. 56. Where, as here, a complaint alleges Sherman Act claims against

25 multiple defendants, the complaint cannot simply lump defendants together; it must allege facts

26 supporting Sherman Act claims against each of the defendants. Kendall, 518 F.3d at 1048; In re

27 TFT-LCD       (Flat   Panel) Antitrust Litig.,   586   F.   Supp.   2d   1109,   1117    (N.D.   Cal.
28 2008) (“[C]omplaint must allege that each individual defendant joined the conspiracy and played


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 1 some role in it . . . .[G]eneral allegations as to all defendants . . . [are] insufficient to put

 2 specific defendants on notice of the claims against them”) (internal quotation marks omitted); see

 3 also In re ATM Fee Antitrust Litig., 768 F. Supp. 2d 984, 1002 (N.D. Cal. 2009) (Breyer, J.)

 4 (rejecting plaintiffs’ effort to “merely lump together” all of the defendants and dismissing the

 5 action    as    to   the defendants not   linked   to   the   alleged   conspiracy through     factual
 6 allegations); Brennan v. Concord EFS, Inc., 369 F. Supp. 2d 1127, 1136-37 (N.D. Cal. 2005) (if a

 7 plaintiff cannot “specifically connect[]” a particular defendant to the alleged conspiracy, that

 8 defendant must be dismissed from the case.). Because the Sun lumps all of the defendants together,

 9 and fails to articulate how each individual defendant joined the alleged conspiracy or played any

10 role it, the Complaint fails to state a claim for conspiracy to monopolize and the third claim should

11 be dismissed.

12
     VI.    EVERY CLAIM AGAINST ADELSON FAILS BECAUSE THE COMPLAINT
13          DOES NOT ALLEGE ANY BASIS FOR ALTER-EGO LIABILITY.
14          Alter ego is an “extreme remedy” and is “sparingly used.” Tatung Co., Ltd. v. Shu Tze
15 Hsu, 217 F. Supp. 3d 1138, 1175 (C.D. Cal. 2016). The Nevada Supreme Court has made clear

16 that the “corporate cloak is not lightly thrown aside,” and that it may be pierced only where

17 “adherence to the fiction of a separate entity . . . [would] sanction a fraud or promote

18 injustice.” Baer v. Walker, 452 P.2d 916, 916 (Nev. 1969); see also Truck Ins. Exch. v. Palmer J.

19 Swanson, Inc., 189 P.3d 656, 660 (Nev. 2008) (same). To state a claim for alter ego liability, the

20 Sun is required to allege that: (1) the corporation is influenced and governed by the person asserted

21 to be its alter ego; (2) there is such unity of interest and ownership that one is inseparable from the

22 other; and (3) the facts must be such that adherence to the fiction of separate entity would, under

23 the circumstances, sanction a fraud or promote injustice. Panliant Fin. Corp. v. ISEE3D, Inc., Case

24 No. 2:12-cv-01376-RFB-CWH, 2016 WL 1706108, at *2 (D. Nev. Apr. 26, 2016) (Boulware, J.).2

25          The sum total of the Complaint’s alter-ego allegations are that Sheldon Adelson is “the
26 alter ego of News+Media [Capital Group LLC]” and the “Las Vegas Review-Journal, Inc.,” Cplt.

27
   2
     Courts in the Ninth Circuit apply the law of the forum state to determine whether a party is subject
28 to alter ego liability. SEC v. Hickey, 322 F.3d 1123, 1128 (9th Cir. 2003).


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 1 ¶ 8, and that he “exercises significant influence over the [Review-Journal’s] business policies and

 2 affairs, including its editorial content,” Cplt. ¶ 9. These barebones, conclusory assertions—offered

 3 without any supporting factual allegations—fall far short of what the Sun is required to plead for

 4 its alter ego allegation to survive.3

 5         Specifically, the Sun must also allege facts showing such a degree of unity of interest
 6 between Mr. Adelson, on the one hand, and the Review-Journal and News+Media Capital Group,

 7 on the other, that Mr. Adelson is “inseparable” from these companies. Panliant, 2016 WL

 8 1706108, at *2. To be inseparable under the alter-ego doctrine, courts look to whether there has

 9 been “commingling” of corporate funds and personal assets, “undercapitalization, unauthorized

10 diversion of funds, treatment of corporate assets as the individual’s own, and failure to observe

11 corporate formalities.” Id.; see also Bonanza Hotel Gift Shop, Inc. v. Bonanza No. 2, 596 P.2d 227,

12 229 (Nev. 1979). The Complaint provides no allegation that meets this high bar. Nor does the

13 Sun allege —as it is required to do—facts to support that “adherence to the fiction of a separate

14 entity would, under the circumstances, sanction a fraud or promote injustice.” Panliant, 2016 WL

15 1706108, at *2. The Complaint does not reference any “injustice” or “fraud” that would befall the

16 Sun—or anyone else—if the corporate veil of the Review-Journal is not pierced.

17         It is well-settled that “[c]onclusory allegations of ‘alter ego’ status are insufficient to state
18 a claim.” Gowen v. Tiltware LLC, Case No. 2:08-CV-01581-RCJ-RJJ, 2009 WL 1441653, at *5

19 (D. Nev. May 19, 2009), aff’d, 437 F. App’x 528 (9th Cir. 2011). “Rather, a plaintiff must allege

20 specifically both of the elements of alter ego liability, as well as facts supporting each.” Id.

21 Because the Sun has not alleged—and cannot truthfully allege—facts necessary to plead Mr.

22 Adelson’s alter ego liability, every cause of action against Mr. Adelson should be dismissed. See

23 Ovation Toys Co., Ltd. v. Only Hearts Club, 675 F. App’x 721, 724 (9th Cir. 2017) (affirming

24

25   3
     In the same paragraph, the Sun confusingly describes Mr. Adelson’s ownership interest and
   leadership roles in running the Las Vegas Sands Corporation—which is not a defendant and does
26 not own either the Review-Journal or News+Media Capital Group—and quotes a Sands
   Corporation Annual Report which provides that “Mr. Adelson exercises significant influence over
27 the [Sands] business policies and affairs.” Cplt. ¶ 8. These allegations are irrelevant here because
   they relate to Mr. Adelson’s influence over a different corporation from those that are the subject
28 of the Sun’s alter ego allegations.


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 1 dismissal of alter ego claims where facts supporting the “unity of interest” prong were “stated in

 2 wholly conclusory terms with little or no supporting facts,” and where plaintiff’s Complaint “does

 3 not articulate any inequity that would result by refusing to apply alter ego liability.”).

 4
     VII.    THE SUN’S DEMAND FOR DIVESTURE OF DEFENDANTS’ INVOLVEMENT
 5           WITH THE REVIEW-JOURNAL NEWSPAPER MUST BE REJECTED.
 6           A centerpiece of the Sun’s “Verified Complaint for Divestiture, Injunction, and Damages”
 7 is its brazen request that the Court enjoin individuals like Mr. Adelson, Mr. Dumont and the

 8 Review-Journal’s employees from having any influence over the newspaper. In the introduction

 9 to its Complaint, the Sun alleges that “because they have misused their fiduciary responsibilities

10 to the specific detriment to the Sun, the Court must divest Adelson of any control over the Review-

11 Journal.” Cplt. p. 3. And the Sun’s first, second, and third claims for relief under the Sherman

12 Act seek an injunction “ordering the [Review-Journal] to divest itself of the newspaper, or in the

13 alternative to divest itself of the newspaper’s non-editorial business operations and to require the

14 creation of an independent agency (or trustee) to conduct the non-editorial business of the joint

15 operation.” Cplt. ¶¶ 127, 137, 147. In other words, based on some unidentified breach of fiduciary

16 duty (which is not asserted as a claim in the Complaint) and purported violations of the Sherman

17 Act, the Sun seeks to dictate who can own or control the Review-Journal newspaper, and whether

18 the Review-Journal may continue to print its own newspaper.

19           The Sun hitches its request for divestment relief to its Sherman Act Section 2 claims. See
20 Cplt. ¶¶ 127, 137, 147. But the remedy of divestment is not available for alleged violations of

21 Section 2 of the Sherman Act that do not involve an illegal acquisition. All the “plain text of [15

22 U.S.C. § 26] authorizes” is divestment “to remedy § 7 [of the Clayton Act] violations.” California

23 v. Am. Stores Co., 495 U.S. 271, 282 (1990). Under Section 7 of the Clayton Act, 15 U.S.C. § 18,

24 it is unlawful for any person to “acquire … the stock or other share capital … or any part of the

25 assets of another person . . . where . . . the effect may be to substantially lessen competition or tend

26 to create a monopoly . . . .” (emphasis added).

27           Given its extraordinary nature, divestiture is relegated to cases where it is necessary to
28 prevent or correct an illegal merger or acquisition, and even then, the Supreme Court has cautioned,


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 1 it is not always proper to grant it at the behest of private plaintiffs. Am. Stores Co., 495 U.S. at

 2 295-96 (resolving a circuit split about the availability of divestiture as a form of relief).

 3          As discussed in the Review-Journal’s motion to dismiss, the Sun’s fourth claim for relief
 4 alleging a violation of the Clayton Act Section 7 is fatally flawed: there is no factual allegation

 5 that any defendant has acquired or is acquiring stock or assets in an unlawful or anticompetitive

 6 manner. The Review-Journal’s owner acquired the newspaper in December 2015. The Sun does

 7 not assert that the 2015 acquisition was unlawful under Section 7. Instead, the most the Sun can

 8 muster is an allegation that in the course of negotiating the 2015 acquisition, the owners of the

 9 Review Journal’s parent allegedly “explored,” among other things, “acquir[ing] the Sun in order

10 to dissolve the JOA.” Cplt. ¶ 55. That acquisition did not occur, meaning there is no factual

11 predicate to support a Clayton Act Section 7 claim.4 That is fatal to the Sun’s fourth claim. And

12 without a sustainable Clayton Act Section 7 claim or otherwise unlawful acquisition, the plaintiffs’

13 request for a court ordered divestiture of a lawfully acquired newspaper is an improper remedy in

14 search of a non-existent claim. It should be dismissed. See, e.g., Cardenas v. Am. Airlines, Inc.,

15 Case No. 17cv2513-GPC(JLB), 2018 WL 1963787, at *3-6 (S.D. Cal. Apr. 26, 2018) (Curiel, J.)

16 (granting motion to dismiss a damages claim under Rule 12(b)(6)) (citing Whittlestone, Inc. v.

17 Handi-Craft Co., 618 F.3d 970, 974-75 (9th Cir. 2010)).

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28    Moreover, if the Sun does not want to sell its newspaper, it can simply decide not to sell it. It
     does not need to file a lawsuit and obtain a court order preventing the sale.

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 1 VIII. CONCLUSION.5

 2         For the reasons discussed above, the Complaint fails to state any cognizable claim against
 3 Messrs. Adelson and Dumont, and they should be dismissed from this case entirely.

 4         DATED October 30, 2019.
 5                                        KEMP, JONES & COULTHARD, LLP
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     As set forth above, Mr. Adelson and Mr. Dumont join in the Review-Journal’s motion to dismiss,
27 including the argument that the Sun’s third claim for violations of the Nevada Trade Practices Act
   fails because it is predicated solely on the defective federal antitrust claims. Furniture Royal, Inc.
28 v. Schnadig Int’l Corp., Case No. 18-cv-318 JCM (CWH), 2018 WL 6574779, at *4 (D. Nev. Dec.
   13, 2018) (citing Boulware v. Nev. Dep’t of Human Res., 960 F.2d 793, 800 (9th Cir. 1992)).

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 1                                         PROOF OF SERVICE
 2          I hereby certify that on the 30th day of October, 2019, I served a true and correct copy of
 3 the foregoing DEFENDANTS SHELDON ADELSON AND PATRICK DUMONT’S

 4 MOTION TO DISMISS COMPLAINT (FRCP 12(B)(6)) AND JOINDER IN THE LAS

 5 VEGAS REVIEW-JOURNAL, INC.’S AND NEWS+MEDIA CAPITAL GROUP LLC’S

 6 MOTION TO DISMISS via the United States District Court’s CM/ECF electronic filing system

 7 to all parties on the e-service list.

 8
                                                   /s/ Patty Pierson
 9                                                 An employee of Kemp, Jones & Coulthard, LLP
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